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       Counsel for Defendant CALLFIRE, INC.
  12
                              UNITED STATES DISTRICT COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
  14
                                       WESTERN DIVISION
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  17   LEE WIGOD, individually and on             Case No. 2:19-cv-02874-SVW-MAA
       behalf of all others similarly situated,
  18                                              Assigned to Hon. Stephen V. Wilson
                        Plaintiff,
  19                                              DEFENDANT’S CALLFIRE, INC.'S
             v.                                   APPLICATION FOR LEAVE TO
  20                                              FILE UNDER SEAL DOCUMENTS
       CALLFIRE, INC.,                            IN CONNECTION WITH ITS
  21                                              MOTION FOR SUMMARY
                        Defendant.                JUDGMENT
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  23                                              Complaint filed: April 15, 2019
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                                                                              CALLFIRE, INC.’S
                                                           APP FOR LEAVE TO FILE UNDER SEAL
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   1        I.   INTRODUCTION
   2         Pursuant to Local Rule 79-5.2.2, Defendant CallFire, Inc. submits this
   3   Application requesting the Court seal narrowly tailored excerpts of its concurrently
   4   filed Motion for Summary Judgment and supporting documents. Those excerpts—
   5   limited to subscriber names and account numbers—comprise only a handful of words
   6   in CallFire’s filing. As set forth in the supporting Declaration of Jagannathan
   7   Thinakaran and below, the public disclosure of these CallFire subscribers would
   8   cause it significant business harm. CallFire respectfully requests the Court seal the
   9   narrow excerpts contained in its Motion for Summary Judgment, including discrete
  10   portions of (1) CallFire’s Memorandum of Points and Authorities in support of its
  11   Motion for Summary Judgment; (2) CallFire's statement of uncontroverted facts and
  12   conclusions of law; (3) the Declaration of Jagannathan Thinakaran filed in support
  13   of CallFire’s Motion for Summary Judgment; and (4) Exhibits 8-9 attached to the
  14   Declaration of Jagannathan Thinakaran in support of CallFire’s Motion for Summary
  15   Judgment. Plaintiff does not oppose this Application. (Declaration of Michael
  16   Hazzard, ¶ 2.)
  17       II.   LEGAL STANDARD
  18         In the Ninth Circuit, the “compelling reasons” standard applies to requests to
  19   seal “dispositive pleadings, including motions for summary judgment and related
  20   attachments.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir.
  21   2006). Under this standard, the compelling reasons for sealing must be supported by
  22   “specific factual findings” that “outweigh the general history of access and the public
  23   policies favoring disclosure, such as the ‘public interest in understanding the judicial
  24   process.’” Id. at 1178–79 (citation omitted). It is well settled in this Circuit that a
  25   court may order sealing to prevent judicial documents from being used “as sources
  26   of business information that might harm a litigant’s competitive standing.” In re
  27   Elect. Arts, Inc., 298 F. App’x 568, 569 (9th Cir. 2008) (quoting Nixon v. Warner C
  28   ommc’ns, Inc., 495 U.S. 589, 598 (1978); see also In re Conagra Foods, Inc., Case
                                                                               CALLFIRE, INC.’S
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   1   No. CV 11-05379-MMM (AGRx), 2014 WL 12577132, at *5 (C.D. Cal. July 11,
   2   2014) (“[A] company’s internal strategies, marketing research, sales data, and
   3   product development plans provide compelling reasons to seal.”).
   4     III.     ARGUMENT
   5              A. Compelling Reasons Support Sealing The Identified Material
   6            Compelling reasons support sealing the narrowly tailored portions of
   7   CallFire’s motions and supporting documents that reflect its subscriber names and
   8   account numbers because their public disclosure could cause CallFire both
   9   reputational and competitive harm.      (Thinakaran Decl., ¶ 3.)      CallFire invests
  10   significant time and resources in developing its subscriber base. (Id.) Indeed, that
  11   significant subscriber base has contributed to its success and competitive advantage,
  12   and is at the heart of its business. (Id.) But the disclosure of CallFire’s subscriber
  13   names and account numbers in this litigation could directly result in reputational
  14   harm and a loss in subscribers for CallFire. (Id.) Indeed, the subscribers may be less
  15   inclined to conduct business with CallFire after disclosure of their names in the
  16   context of this litigation. (Id.) But even more, the disclosure of the at-issue
  17   subscriber names and account numbers, which have not been previously publicly
  18   disclosed by CallFire, could be used by CallFire’s business competitors to gain an
  19   unfair competitive advantage by circumventing the time and resources necessary for
  20   those competitors to develop their own subscriber base. (Id., ¶ 5.) Specifically,
  21   competitors could target these CallFire subscribers and solicit their business. (Id.)
  22   And therefore the disclosure of CallFire’s subscriber names and account numbers
  23   would inevitably impact CallFire’s competitive advantage and its ability to thrive in
  24   the marketplace. (Id.) The significant threat of reputational and competitive harm
  25   are compelling reasons to protect the CallFire subscriber names and account numbers
  26   at issue from public disclosure.
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                                                                               CALLFIRE, INC.’S
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   1               B. CallFire’s Interests Outweigh the Public’s Right of Access
   2            The compelling reasons articulated above far outweigh the public’s right of
   3   access to the information. As an initial matter, CallFire’s request for sealing is
   4   narrow, limited to a handful of words in its filings—CallFire’s subscriber names and
   5   account numbers. Further, those account numbers and subscriber names offer little,
   6   if any, benefit to the public and will not provide further insight into the judicial
   7   process. CallFire’s narrowly tailored redactions do not undermine the public’s ability
   8   to ascertain its position on the claims at issue or key facts. As such, given the
   9   significant prejudice CallFire would suffer from the public disclosure of its
  10   subscriber’s names and account numbers, CallFire’s interests outweigh the public’s
  11   right of access to the materials at issue.
  12      IV.      CONCLUSION
  13               For the foregoing reasons, CallFire respectfully requests the Court grant
  14   CallFire leave to file under seal narrowly tailored portions of its motion for summary
  15   judgment and supporting documents.
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   1   Dated: October 28, 2019                  Respectfully submitted,
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